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PAVEL “PAUL” BABICHENKO

                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,

               Plaintiff,
                                            CASE NO. CR-18-00258-BLW
 vs.

 PAVEL BABICHENKO,                          DEFENDANTS’ MOTION IN LIMINE
 GENNADY BABITCHENKO,                       REGARDING INDIVIDUAL AMAZON
 PIOTR BABICHENKO,                          REVIEWS AND AMAZON SELLER
 TIMOFEY BABICHENKO,                        POLICIES
 KRISTINA BABICHENKO,
 NATALYA BABICHENKO,
 DAVID BIBIKOV,
 ANNA IYERUSALIMENTS,
 MIKHAIL IYERUSALIMETS,
 ARTUR PUPKO,

               Defendants.




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REVIEWS AND AMAZON SELLER POLICIES
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           Defendants1 respectfully move this Court to exclude from trial individual Amazon

reviews and Amazon seller policies because the reviews and policies may be inadmissible under

Federal Rules of Evidence 401-403, 801-803, and 901.

I.         Introduction

           Defendants anticipate that the Government may offer reviews from Amazon.com to

attempt to establish that (1) the marks were counterfeit, (2) that Defendants knew that the marks

were counterfeit, or (3) that their use of the trademarks was likely to deceive consumers and

cause confusion or mistake. The Government cannot meet its burden to establish that each

review is admissible, including by identifying its purpose for offering the review, authenticating

each review, producing evidence about who wrote the review and when. The defense also seeks

to limit the Government’s proposed evidence regarding Amazon Seller Policies.

     II.      Argument

     A. Amazon Reviews

           1. Relevance

           Evidence is relevant if it “has any tendency to make a fact more or less probable than it

would be without the evidence” and “is of consequence in determining the action[.]” Fed. R.

Evid. 401. Here, the charges put at issue whether the products are counterfeit, the likelihood that

the devices might confuse or mislead a customer, and the Defendants’ knowledge that the

devices were counterfeit. Count 1 alleges Conspiracy to Commit Wire Fraud by knowingly

transmitting by wire “photographs and descriptions of electronic devices bearing counterfeit




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       This motion is filed on behalf of Pavel Babichenko, Gennady Babitchenko, Piotr
Babichenko, Timofey Babichenko, Kristina Babichenko, Natalya Babichenko, David Bibikov,
Anna Iyerusalimets, and Mikhail Iyerusalimets (collectively the “Defendants”).

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marks; communications with customers purchasing those devices; and payments for those

devices.” Dkt. 210 at 7. Counts 2-10 allege Wire Fraud through specific sales of counterfeit

items. Id. at 7-8. Counts 11-19 allege Mail Fraud by defrauding customers through specific

shipments of counterfeit items. Id. at 9-10. Count 20 alleges Conspiracy to Traffic in Counterfeit

Goods by intentionally conspiring to knowingly use counterfeit trademarks “and the use thereof

was likely to deceive and to cause confusion and mistake[.]” Id. at 11. Counts 21-32 allege that

Defendants trafficked in counterfeit goods by “knowingly using a counterfeit mark[.]” Id. at 11-

16. Counts 33-34 allege that Defendants trafficked in counterfeit devices by “knowingly using a

counterfeit mark[.]” Id. at 16.

       Defendants acknowledge that the Amazon reviews may be conditionally relevant to

establish a Defendant’s notice that there may be issues related to the products. The substance

relating to allegations of counterfeit or defective, however the theory of relevance turns on

whether the Government can establish that a Defendant was aware of a particular review. If the

Government cannot establish that condition precedent, then it appears the review is irrelevant

because there is no evidence that a Defendant was aware of the review. The Court will also likely

conclude that the reviews are relevant to establish likelihood of customer deception or confusion,

depending on whether the content of the review shows that the consumer was deceived or

confused.

       2. Authentication

       “To satisfy the requirement of authenticating or identifying an item of evidence, the

proponent must produce evidence sufficient to support a finding that the item is what the

proponent claims it is.” Fed. R. Evid. 901(a). As the Ninth Circuit has explained:

       In other words, the party offering the evidence must make a prima facie showing
       of authenticity ‘so that a reasonable juror could find in favor of authenticity or

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       identification.’ . . . The item may be authenticated by extrinsic evidence, . . . such
       as through testimony of a knowledgeable witness, Fed. R. Evid. 901(b)(1).

United States v. Gadson, 763 F3d 1189, 1203-04 (9th Cir. 2014) (internal quotation omitted).

       Here, the Government must make a prima facie showing of authenticity by, for example,

producing evidence of who made the review that it intends to offer. For example, in Blue Bell

Creameries, LP v Denali Co, LLC, the court declined to admit blog entries where “nothing [was]

known about the person who made the entries, about whether they [were] related in any way to

either party or whether they [were] describing true events and impressions[.]” 2008 WL

2965655, at 5 and n. 4 (S.D. Tex. July 31, 2008). The Defendants do not believe that the

Government can establish foundational facts necessary to authenticate the review. Who posted

each review? Was the person an actual customer? How long was the review posted after the

person received the product or allegedly realized the product was counterfeit or defective? Did

any Defendant read the review or otherwise have knowledge of it? The Government must proffer

prima facie evidence of those facts to authenticate each review under Rule 901.

       3. Rule 403 Balancing

       Federal Rule of Evidence 403 provides that “The court may exclude relevant evidence if

its probative value is substantially outweighed by a danger of one or more of the following:

unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

needlessly presenting cumulative evidence.” Here, relevance and authentication issues with the

Amazon reviews evidence demonstrates the minimal probative value, even assuming the Court

concludes that the reviews are relevant, authentic issues may render the evidence inadmissible.

   B. This Court May Exclude Evidence of the Amazon Policies.

       The Government intends to admit evidence from the following webpages, which outline

some policies applicable to Amazon sellers:


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   •      “Beginners Guide to Selling on Amazon,” https://sell.amazon.com/beginners-
          guide.html?ld=SEUSSOAGOOG-sitelink-guide&tag=googhydr-
          20&hvadid=438282287450&hvpos=&hvexid=&hvnetw=g&hvrand=1497054082844916
          1022&hvpone=&hvptwo=&hvqmt=b&hvdev=c&hvdvcmdl=&hvlocint=&hvlocphy=903
          3512&hvtargid=kwd-511547508643&ref=pd_sl_2vge9q2e84_b.
   •      “How it Works,” https://sell.amazon.com/sell.html?ld=SEUSSOAGOOG-sitelink-
          hiw&tag=googhydr-
          20&hvadid=438282287450&hvpos=&hvexid=&hvnetw=g&hvrand=1497054082844916
          1022&hvpone=&hvptwo=&hvqmt=b&hvdev=c&hvdvcmdl=&hvlocint=&hvlocphy=903
          3512&hvtargid=kwd-511547508643&ref=pd_sl_4v23qr1kle_b.
   •      “Grow Your Business with FBA on Amazon,” https://sell.amazon.com/fulfillment-by-
          amazon.html.

   The Government should at least identify a witness to show that the noted policies were in

effect between 2008 and 2018. Without a historical understanding of policies in place when the

alleged crimes took place, those policies have no tendency to make any fact of consequence in

this case more or less probable. See Fed. R. Evid. 401. This Court may be asked to exclude

evidence from proposed webpages because it is irrelevant. See Fed. R. Evid. 402.

   III.      Conclusion

          Defendants respectfully ask this Court to reserve ruling on the admissibility of evidence

regarding Amazon Reviews and Amazon Seller Policies for the reasons explained in this motion.


                  Dated This 8th day of April 2021.


                                               /s/ John DeFranco
                                               CJA counsel for Paul Babichenko




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 8th day of April, 2021, I filed the foregoing document
utilizing the Court’s electronic CM/ECF system, which caused a Notice of Electronic Filing to
be served on the following:

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                                                          /s/ John C. DeFranco




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